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 6                            UNITED STATES DISTRICT COURT
 7                          CENTRAL DISTRICT OF CALIFORNIA
 8
      JONATHAN SAPAN,                                         Case No: 12cv2782 JAH (JLB)
                                                                        13CV2782-JAH(JLB)
 9

10                    Plaintiff,                              ORDER OF DISMISSAL
11            vs.                                             WITHOUT PREJUDICE OF
12                                                            DEFENDANT JOHNSON
      AUTHORITY TAX SERVICES, LLC, a                          GIORDANO & ROTH, APC
13
      California Limited Liability Company,
14    JOHNSON GIORDANO & ROTH, APC,
15
      a California Professional Corporation,
      WAYNE R. JOHNSON, and individual,
16    THOMAS M. GIORDANO-LASCARI,
17    and individual,
18
                                      Defendants.
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            Pursuant to the joint motion of the parties for dismissal with prejudice and

21   all other papers and arguments submitted with respect thereto, and good cause
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     appearing therefore, IT IS HEREBY ORDERED this case is dismissed in its
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24   entirety with prejudice as to all defendants.
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     Dated: October 16, 2014
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                                                            HON. JOHN A. HOUSTON
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                              [proposed] ORDER OF DISMISSAL OF PARTY
